Case 1:03-md-01570-GBD-SN Document 2018 Filed(peteZtor—rage for _
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UNITED STATES DISTRICT COURT Cs lk
SOUTHERN DISTRICT OF NEW YORK | PE FILED: AUG 9 2 2
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IN RE: TERRORIST ATTACKS ON ORDER
SEPTEMBER 11, 2001 03 MDL 1570 (GBD)
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This document relates to:

03 CV 9849 (GBD)

04 CV 7279 (GBD)

03 CV 6978 (GBD)

04 CV 6105 (GBD)

04 CV 7280 (GBD)

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GEORGE B. DANIELS, District Judge:

For the reasons stated in the motion for leave to withdraw filed by Nevin, Benjamin &
McKay LLP, it is hereby

ORDERED that Dean Arnold and Marshall Mintz are relieved as attorneys of record for

defendant Sami Omar Al-Hussayen in this action.

Dated: New York, New York
July 20, 2007

SO ORDERED:

Yoo, B —Dnb&

C/ G@&ORGEB. DANIELS
United States District Judge

